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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 23-cv-22798-BLOOM/Otazo-Reyes

 JOHNNY L. PARTIDAS OLMEDO,

        Plaintiff,

 v.

 CLEANER’S GURU LLC, a Florida
 Limited Liability Company d/b/a
 TOTAL G TELECOM, and
 RAFAEL E. HERNANDEZ,
 individually,

       Defendants.
 ________________________________/

      ORDER ON MOTION FOR LEAVE TO WITHDRAW AS COUNSEL OF RECORD
        FOR DEFENDANT CLEANER’S GURU LLC D/B/A TOTAL G TELECOM

        THIS CAUSE is before the Court on counsel of record for Defendant Cleaner’s Guru LLC

 d/b/a Total G Telecom (“Defendant”) Motion for Leave to Withdraw as Counsel of Record for

 Defendant, Cleaner’s Guru LLC d/b/a Total G Telecom, filed on October 3, 2023, ECF No. [23]

 (“Motion”). The Court has reviewed the Motion and is fully advised.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

            1. The Motion, ECF No. [23], is GRANTED.

            2. Counsel of record for Defendant, Cleaner’s Guru, LLC d/b/a Total G Telecom,

                including Spire Law, PLLC, Jamie L. White, Esq., and Alyssa Castelli, Esq., are

                relieved of all duties relating to the above-captioned matter.

            3. Defendant, Cleaner’s Guru, LLC d/b/a Total G Telecom, shall retain new counsel

                by November 2, 2023.
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              4. The parties shall comply with the Court’s July 31, 2023 Order requiring the filing

                 of joint scheduling report and certificates of interested parties, as required by Local

                 Rule 16.1, by November 9, 2023. ECF No. [4].

        DONE AND ORDERED in Chambers at Miami, Florida, on October 4, 2023.




                                                           _________________________________
                                                           BETH BLOOM
                                                           UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record




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